            Case 20-41957                   Doc 12          Filed 09/21/20 Entered 09/21/20 10:46:24                                       Desc Ch 13
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Information to identify the case:

                       Jason Christopher Warren                                               Social Security number or ITIN:      xxx−xx−4381
Debtor 1:
                                                                                              EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                     Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Eastern District of Texas                                     Date case filed for chapter:            13     9/16/20

Case number:          20−41957

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                        12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Jason Christopher Warren

2. All other names used in the
   last 8 years
                                                   aka Jason C. Warren, PT

                                                   502 Ashton Lane
3. Address                                         Reno, TX 75462
                                                   J. Brian Allen                                                       Contact phone 903−439−5150
4. Debtor's  attorney
   Name and address
                                                   P.O. Box 1398                                                        Email ____________________
                                                   Sulphur Springs, TX 75483−1398

5. Bankruptcy trustee                              Carey D. Ebert                                                       Contact phone (972) 943−2580
     Name and address                              P. O. Box 941166                                                     Email ____________________
                                                   Plano, TX 75094−1166

6. Bankruptcy clerk's office                                                                                             Hours open Mon−Fri 8am−4pm
     Documents in this case may be filed           Suite 300B                                                            Contact phone (972)509−1240
     at this address.                              660 North Central Expressway                                          Date: 9/22/20
     You may inspect all records filed in          Plano, TX 75074
     this case at this office or online at
      www.pacer.gov.
                                                                                                                                 For more information, see page 2




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Debtor Jason Christopher Warren                                                                                                                         Case number 20−41957

7. Meeting of creditors
    Debtors must attend the meeting to          November 2, 2020 at 11:00 AM                                             Location:
    be questioned under oath. In a joint                                                                                 Telephonic Hearing, Email
    case, both spouses must attend.                                                                                      TawannaC@ch13plano.com, for instructions
    Creditors may attend, but are not           The meeting may be continued or adjourned to a later
    required to do so.                          date. If so, the date will be on the court docket.
8. Deadlines                                     Deadline to file a complaint to challenge                                       Filing deadline: 1/4/21
    The bankruptcy clerk's office must           dischargeability of certain debts:
    receive these documents and any
    required filing fee by the following
    deadlines.                                   You must file:
                                                 • a motion if you assert that the debtors are
                                                    not entitled to receive a discharge under
                                                    U.S.C. § 1328(f) or
                                                 • a complaint if you want to have a particular
                                                    debt excepted from discharge under
                                                    11 U.S.C. § 523(a)(2) or (4).
                                                 Deadline for all creditors to file a proof of claim                             Filing deadline: 11/25/20
                                                 (except governmental units):
                                                 Deadline for governmental units to file a proof of                              Filing deadline: 3/15/21
                                                 claim:


                                                 Deadlines for filing proof of claim:
                                                  A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                  www.uscourts.gov or any bankruptcy clerk's office.
                                                 If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                 a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                                 Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                 claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                 For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                                 including the right to a jury trial.


                                                 Deadline to object to exemptions:                                                Filing deadline:      30 days after the
                                                 The law permits debtors to keep certain property as exempt. If you                                     conclusion of the
                                                 believe that the law does not authorize an exemption claimed, you                                      meeting of creditors
                                                 may file an objection.

9. Filing of plan                               The debtor has filed a plan. The plan will be sent separately. The hearing on confirmation will be held on:
                                                12/16/20 at 09:30 AM , Location: Telephonic hearing to be held:

                                                Objections to confirmation must be filed in writing with the Court no later than (14) days
                                                prior to the scheduled hearing to consider confirmation of the plan.
10. Creditors with a foreign                     If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                      extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                 any questions about your rights in this case.
11. Filing a chapter 13                          Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                              according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                                 plan and appear at the confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you
                                                 later, and if the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation
                                                 hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                                 unless the court orders otherwise.
12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                                 the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                           Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                                 a debt. However, unless the court orders otherwise, the debts will not be discharged until all payments
                                                 under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                                 debtors personally except as provided in the plan. If you want to have a particular debt excepted from
                                                 discharge under 11 U.S.C. § 523(a)(2) or (4), you must file a complaint and pay the filing fee in the
                                                 bankruptcy clerk's office by the deadline. If you believe that the debtors are not entitled to a discharge
                                                 of any of their debts under 11 U.S.C. § 1328(f), you must file a motion.
NOTICE: Pursuant to L.R.B.P. 6007 the Trustee may announce at this meeting his intention to abandon specific property of the estate having a total value of not more than $1500.




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